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                          UNITED STATES DISTRICT COURT
                                                     z (7,0
                                                                                PI:
                         WESTERN DISTRICT OF WISCONSIN

                                                 DIVISION



Najiy-Ullah `Aziyz,

                    Plaintiff,                          No.:20
                                                                   CV 896 MC
       V.




Cameca, a Wisconsin Profit

Corporation; Steven Turnbull, Individually

and in his Capacity as a Manager; Annie

Stroud, Individually and in her Capacity as a

Manager; and Fabrice LeDuigou, Individually

and in his capacity as Manager,

                      Defendants.



                           COMPLAINT AND JURY DEMAND

                Najiy-Ullah `Aziyz, for his Complaint against Defendants Cameca Inc.,
Steven Turnbull, Annie Stroud and Fabrice LeDuigou, states as follows:




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                                      Introduction



1. This is an action to vindicate violations of the Plaintiffs civil rights and to redress the
   unlawful and discriminatory conduct and employment practices of the Defendants.
   This action arises out of the illegal and wrongful denial of employment to Plaintiff.
   Plaintiff alleges, inter alia, that he was denied a "Good Faith" job offer and
    employment based upon his race and age in violation of Title VII of the Civil Rights
   Act of 1964, as amended, 42 U.S.C. Section(s) 2000e et seq., and the Civil Rights Act
   of 1866, as amended by the Civil Rights Restoration Act of 1991,42 U.S.C. Section
   1981; Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621
   to 634; and The Fair Credit Reporting Act of 19)cx, 15 U.S.C. Section 1681-1681x.


             Najiy-Ullah `Aziyz (African-American male) (52 years old) (hereinafter
   "Plaintiff') on July 14, 2020 (10:00 AM) interviewed with Defendant Fabrice
   LeDuigou, (Field Service Manager) (white male) (hereinafter "Defendant LeDuigou"),
   for the Northeast Field Service Engineering position with Defendant Cameca Inc.
   (hereinafter "Defendant Cameca"). On or about July 20, 2020 Defendant Annie
   Stroud, (Human Resource Manager) (white female) (hereinafter "Defendant Stroud),
   offered Plaintiff the Northeast Field Service Engineering position. Plaintiffs first clay
   of work and orientation at Defendant Cameca was scheduled for August 10,2020.


   However, on August 6, 2020 (9:28 AM), approximate one week after Plaintiff had
   successfully completed the terms of his job offer, background check and pre-
   employment drug screen, Defendant Stroud performed an intemet search on the
   Plaintiff and discovered Plaintiff had been incarcerated. Defendant Stroud discovered
   criminal history about the Plaintiff which was outside the requirements of the
   background adjudication completed by HireRight, a consumer reporting agency.
   Defendant Stroud then proceed to informed Defendant LeDuigou, Plaintiff's future


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  manager, the specific details of Plaintiff's criminal history. In 1991 Plaintiff had
  pleaded guilty to a felony.


 Defendant Stroud then proceeded with contacting the Plaintiff to inform him that the
 offer had been withdrawn until she contact and notify the corporate office, based on
 information and belief, Defendant Stroud proceeded to block all preparations for
  Plaintiffs orientation to be held on August 10, 2020. Defendant Stroud further stated
  to the Plaintiff, that when she informed Defendant LeDuigou he had become very
  upset with Plaintiff's performance in the interview because Plaintiff did not make it
  known that he had been incarcerated. Defendant Cameca have a policy requiring a 10-
 year background search. However, it is the common practice of Defendant LeDuigou
  to determine if applicants have a criminal history in the interview to exclude the
 applicants from the hiring process.


  On August 7, 2020 (9:03 AM) Defendant Stroud calls Plaintiff to inform him that they
 can now proceed with orientation. Allegedly the job offer was reinstated. Plaintiff
 informed Defendant Stroud that she was wrong to withdraw the job offer and that she
 discriminated against him based on his race when she withdrew the job offer.
 Defendant Stroud did not respond. Plaintiff asked Defendant Stroud how does
 Defendant LeDuigou feel about working with him (Plaintiff) in the light of his
 (Defendant LeDuigou) knowledge of Plaintiff's criminal history and Defendant
  LeDuigou being angered. Defendant Stroud asked Plaintiff if he would like to speak
 with Defendant LeDuigou. Plaintiff agreed with the affirmative. On August 7, 2020
 (9:19 AM) Defendant Stroud called Plaintiff for the second time stating that Defendant
  LeDuigou is free all day and asked plaintiff it would be okay to set-up a chat between
  the three. Plaintiff agreed with the affirmative.


  On August 7, 2020 (9:21 AM) Plaintiff receive an invite chat from Defendant Stroud.
  On August 7, 2020 (9:51 AM) Plaintiff received a cancellation chat from Defendant
  Stroud. On August?, 2020 (10:16 AM) Plaintiff receives an email from Defendant
  Stroud stating that the meeting with Defendant LeDuigou will not work out. Upon

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  information and belief Defendant Stroud did not resume the preparations for plaintiff's
  orientation to be held on August 10, 2020. Defendant Stroud, for dishonest and
  discriminatory purposes, failed to reinstate plaintiff's job offer.


  On or about August 7, 2020 Defendant Steven Turnbull, (Vice President of Human
  Resources) (hereinafter "Defendant Turnbull') consulted with Defendant Stroud and
  their legal team and deemed it was in their best interest to hypothetically reinstate the
  job offer to the Plaintiff, and challenge the narrative of the events to avoid liability.


  On August 7,2020 (2:20 PM) Defendant Turnbull contacted Plaintiff and apologized
  for the events that had occurred during Plaintiff's transitioning to Defendant Cameca.
  However, Defendant Turnbull struggled to change the narrative of events between
  Defendant Stroud and Defendant LeDuigou. Defendant Turnbull asserted that
  Defendant Stroud reviewed the background report completed by HireRight and
  determined that Plaintiff's age did not coincided with his work history and graduation
  date. Upon information and belief Defendant Stroud determined the report completed
  by HireRight had conflicting information. Upon information and belief Defendant
  Stroud determined that plaintiff would have had too much work history for the Field
  Service Engineering position thus, making him to old. The common practice of
  Defendants is to exclude applicants with lengthy work history from the hiring process.
  Defendant Turnbull continued to further assert in that phone call to Plaintiff that
  Defendant Stroud contacted Defendant LeDuigou with questions about Plaintiffs
  interview, and then Defendant LeDuigou did an internet search on the Plaintiff and
  became upset when he discovered plaintiff had a criminal history. Defendant
  LeDuigou then proceeded to inform Defendant Stroud of his findings.


  Plaintiff, as an applicant, verbally reported to Defendant Turnbull in that same 2:00
  PM phone call that Defendant Stroud was wrong to withdraw the job offer and her
  actions were discriminatory towards him (Plaintiff) based on his race. Likewise,
  Plaintiff verbally reported to Defendant Turnbull regarding his asserted narrative of
  events that they were discriminatory as well based on age discrimination. Moreover,

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  upon information and belief Plaintiff was never given a copy of the report outlining
  the conflicting information completed by HireRight, nor was plaintiff given the
  opportunity to respond to the allegedly conflicting information, and nor was plaintiff
  given written notice of the adverse action to be taken against him. Plaintiff assert that
  he could have corrected any misconceptions and/or inaccuracies regarding the
  HireRight report and prevented the adverse action. Defendant Turnbull conclude the
  phone conversation by stating to the Plaintiff, the job offer is his if he wants it. Upon
  information and belief defendant Turnbull, for dishonest and discriminatory purposes,
  attempted to change the narrative of events. Defendant Turnbull, for dishonest and
  discriminatory purposes, failed to reinstate plaintiff's job offer.


  On August 7, 2020 (3:37 PM) Plaintiff receive an email from Defendant Turnbull
  stating how excited the Defendants were about Plaintiff joining the team. On August 8,
 2020 (10:36 AM) Plaintiff respond to Defendant Turnbull via email raising the
  following concerns, (1) how can Defendants ensure to Plaintiff that he will not be
 targeted by Defendant LeDuigou, since he had become upset with Plaintiffs criminal
 history, or any other employee, (2) Is Defendant LeDuigou the only manager Plaintiff
 can work under, (3) Is there any other department Plaintiff can work in, and, (4) can
 the Defendants ensure the job offer is in "Good Faith". On August 9, 2020 (12:48 PM)
 Defendant Turnbull asserted in an email to Plaintiff that Defendant Cameca and all its
  employees adhere strictly to their "Code of Ethics and Business Conduct" Handbook.


  The Defendants' "Code of Ethics and Business Conduct Handbook" clearly states that
  it would treat employees in a specific, fair and equitable manner; that all incidents of
 prohibited discriminatory that are reported will be investigated; that the company will
  immediately undertake or direct an effective, thorough, and objective investigation of
 the discriminatory allegations; and, that the Company will take effective remedial
 action commensurate with the circumstances". Based on information and belief,
  Defendant Cameca did not treat Plaintiff in a fair and equitable manner; Defendant
  Cameca did not investigate Applicant-Plaintiff's claims of discrimination; and,
  Defendant Cameca failed to take any effective remedial action to prevent

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  discrimination in the future. Defendants failed in its obligation to Plaintiff and
  breached its contract in the "Code of Ethics and Business Conduct Handbook.
  Moreover, based on information and belief, Defendants actions, predicated on bad
  faith made Plaintiff a job offer in "Bad Faith", a job offer they could not live up too.
  On August 10, 2020 (7:46 AM) Plaintiff's rejected Defendants "bad faith" job offer.


  Plaintiff alleges that Defendant Cameca' hiring process, confidentiality of personnel
  records, the subsequent investigation of Defendants Stroud and Defendant LeDuigou
  for discriminatory actions, the pre-adverse/adverse action taken, and the job offer were
  tainted, biased and/or implemented in a dishonest and discriminatory manner. Upon
  information and belief, the hiring process has a significant disparate impact on African
  American applicants because greater than 10% of African American are prison
  although they only make up 4% of the population insofar as white employees obtain
  more favorable results in the company hiring process. Plaintiff further alleges that
  Defendant Cameca' hiring process has a significant disparate impact/treatment on
  applicants over 40 years of age insofar as younger applicants obtain more favorable
  results in the company hiring process.


 As a result of the Defendants' unlawful and discriminatory conduct and employment
  practices and violations of Plaintiffs rights protected by federal law, Plaintiff was
  denied a "Good Faith" job offer and employment. Defendants' dishonest and
 discriminatory conduct thereafter denied Plaintiff a fair investigation as guaranteed by
 Defendant Cameca' "Code of Ethics and Business Conduct". Plaintiff now seeks
 injunctive relief; monetary damages, including back pay, front pay, if applicable,
 compensatory and punitive damages; and court costs, pursuant to Title VII of the Civil
 Rights Act of 1964, as amended, 42 U.S.C. Sections 2000e, et seq.; the Civil Rights
 Act of 1866, as amended, 42 U.S.C. Section 1981; 42 U.S.C. Section 1981A and 42
 U.S.C. Section 1988; the Civil Rights Act of 1866, as amended by the Civil Rights
 Restoration Act of 1991,42 U.S.C. Section 1981. ADEA Act of 1967, as codified, 29
 U.S.C. §§ 621 to 634. The Fair Credit Reporting Act of 19xx, 15 U.S.C. Section 1681-



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  1681x. Plaintiff also brings tort and contract claims under the common law of
  Wisconsin.



                                      Parties



  Plaintiff; Najiy-Ullah `Aziyz, an African-American, is an adult male individual and
  citizen of the United States and the State of New York who resides at 22 Pinewood Dr.
  Glenville, NY 12302. At all relevant times, Plaintiff was 52 years old and was an
  applicant of Cameca Inc., within the meaning of Title VII of the Civil Rights Act of
  1964, as amended, 42 U.S.C. Sections 2000e, et seq., and applicable case law.


 Defendant, Cameca, is a corporation or similar business entity organized and existing
 under the laws of the State of Wisconsin and which regularly conduct business at
  Cameca Instruments Inc., 5470 Nobel Dr., Fitchburg, Wisconsin 53711. Defendant
 Cameca is a supplier of microanalytical and metrology instrumentation for basic
 research, product development and process control.


 At all relevant times, Defendant Cameca employed in excess of fifteen employees and
 was an employer within the meaning of Title VII of the Civil Rights Act of 1964, as
 amended, 42 U.S.C. Sections 2000e, et seq.


 Defendant, Steven Turnbull, a white male, is an adult individual and citizen of the
 United States who resides in Wisconsin. At all relevant times, Defendant Turnbull was
 the Vice President of Human Resources and a Managerial employee of Defendant
 Cameca.


 Defendant, Annie Stroud, a white female, is an adult individual and citizen of the
 United States who resides in Wisconsin. At all relevant times, Defendant Stroud was
 the Human Resource Manager and a Managerial employee of Defendant Cameca.

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  Defendant, Fabrice LeDuigou, a white male, is an adult individual and citizen of the
  United States who resides in Wisconsin. At all relevant times, Defendant LeDuigou
  was the Service Manager and a Managerial employee of Defendant Cameca.



                               Jurisdiction and Venue



  This is, in part, an action authorized and instituted pursuant to: Title VII of the Civil
  Rights Act of 1964, as amended, 42 U.S.C. Section(s) 2000e et seq.; the Civil Rights
  Act of 1866, as amended by the Civil Rights Restoration Act of 1991,42 U.S.C.
  Section 1981; 42 U.S.C. Section 1981A; 42 U.S.C. Section 1988, and the common law
  of the State of Wisconsin.


  The jurisdiction of this Court is predicated upon 28 U.S.C. Section 1331 and 1343, to
 redress the unlawful deprivation of Plaintiff's rights secured, guaranteed and protected
 by federal law. The Court also has jurisdiction pursuant to 28 U.S.C. Sections 2201
 and 2202 relating to declaratory judgments. This Court may also exercise pendant
 jurisdiction over Plaintiff's state law claims arising under the common law and statutes
 of the State of Wisconsin, and which arise from a common nucleus of operative fact
 pursuant to 28 U.S.C. Section 1367.


 Venue is proper in the United States District Court for the Western District of
 Wisconsin pursuant to 28 U.S.C. Section 1391(b), wherein all Defendants regularly
  conduct business and where all the wrongful conduct occurred.




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                             Administrative Prerequisites



11. Plaintiff has complied with all the administrative prerequisites to action under Section
    706 of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. Sections
   2000e-5 as follows:


           On or about September 16, 2020 (18:36:21) plaintiff timely filed a formal
           charge of discrimination with the Equal Employment Opportunity Commission
           [hereinafter E.E.O.C.];


           Plaintiff promptly and diligently accommodated all E.E.O.C. requests for
           information and fully cooperated in the agency's investigation of this matter;


           Plaintiff has exhausted all available administrative remedies in accord with the
           aforementioned statues prior to instituting this Civil Action, and a Notice of
           Right to Sue from the E.E.O.C. was issued on September 17, 2020.




12. No administrative prerequisites are required before a plaintiff files a complaint
   pursuant to the Civil Rights Act of 1866, as amended by the Civil Rights Restoration
   Act of 1991, 42 U.S.C. Section 1981.




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                                       Event



  On or about July 14, 2020 Plaintiff had an interview with Defendant LeDuigou via



  On or about July 20,2020 Plaintiff was informed by Michael Lanahan (hereinafter
  "Lanahan"), that Defendant Cameca will be making Plaintiff a job-offer.


  Lanahan is a Scientific Executive Recruiter at MRIGlobalScientific.


  Plaintiffs initial first day will be Monday, August 3, 2020 with Defendant Cameca.


  On or about July 20, 2020 Plaintiff received the formal offer letter from Defendant
  Stroud.


  On or about July 20, 2020 Plaintiff informed Defendant Stroud that he could not resign
  from Micromeritics Instr. Corp. (hereinafter "Micromeritics") until he had satisfactory
  passed the background check and pre-employment drug screen.


  Plaintiff was employed at Micromeritics as a Senior Field Service Engineer for the
  past six years.


  Plaintiff's amended first day will be Monday, August 10th, 2020 with Defendant
  Cameca.


  On or about July 20, 2020 Plaintiff initiates the HireRight process online.


  Defendant Cameca request an investigative consumer report about Plaintiff from
  HireRight in connection with Plaintiff application for employment.



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  HireRight, LLC is a consumer reporting agency.


  On or about July 27,2020 Defendant Stroud inform Defendant LeDuigou the results
  of the Plaintiff's background check completed by HireRight.


  On or about July 27, 2020 Plaintiff received an email from Defendant LeDuigou
  stating the following: "I am looking forward for your arrival next week in the Cameca
  service team. We won't be able to meet in person because I am traveling but you
  should be able to meet with the engineer who lives in Kingston NY. Due to Covid-19
  travel is a bit challenging and everything takes much longer than expected. We will be
  providing you with a cell phone. Usually iPhone 11 (Samsung 510 is also available).
  Also, what is your area code presently? That way your cell phone number will have
  the area code of where you are."


  On or about July 27, 2020 Plaintiff respond to Defendant LeDuigou stating the
  following, "Thank you for your email, and I look forward to joining the Service Team.
  However, for clarification it was my understanding that I would be starting August 10,
  2020 and not next week. In regard to cell phone, the iPhone will be fine. The area code
  for Schenectady is 518."


  On or about July 28, 2020 Plaintiff's background check and pre-employment drug
  screen is finalized by HireRight.


  The Adjudication results completed by HireRight met Defendant Cameca standards.


  On or about July 28, 2020 Plaintiff receives the all clear and welcome aboard email
  from Defendant Stroud.


  On or about July 28, 2020 Defendant Stroud began the preparations for Plaintiffs
  orientation to be held on August 10,2020.



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  On or about July 28, 2020 Defendant Stroud requested Plaintiff complete Federal Tax
  Form W4, State Tax Form, Direct Deposit Form, Ametek Work Opportunity Tax
  Credit, and Employee Information Form by August 4, 2020.


  On or about July 30, 2020 Defendant Stroud ask Plaintiff did he have a preference in
  email.


  On or about July 30, 2020 Defendant Stroud informed Plaintiff that his computer and
  phone will be mailed to his home prior to orientation.


  On or about Aug. 6, 2020 Defendant Stroud discovered criminal information about the
  Plaintiff which was outside the requirements of HireRight's adjudication results.


  On or about Aug. 6, 2020 Defendant Stroud disclose criminal information about the
  Plaintiff, which was outside the requirements of HireRight adjudication, to Defendant
  LeDuigou.


  On or about Aug. 6, 2020 Defendant Stroud stated to the Plaintiff in a phone call that
  while she was performing an intend search, she discovered that Plaintiff had been
  incarcerated, and asked him to confirm.


  On or about Aug. 6, 2020 Defendant Stroud stated to the Plaintiff in a phone call that
  Defendant LeDuigou was upset with Plaintiff.


  Defendant LeDuigou had become upset with Plaintiff because Plaintiff had a criminal
  background.


  Defendant LeDuigou had become upset with Plaintiff because plaintiff did not inform
  him during the interview process that he had been incarcerated.




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  Plaintiffs position as Field Service Engineer would report directly to Defendant
  LeDuigou.


  On or about Aug. 6,2020 Defendant Stroud stated to the Plaintiff in a phone call that
  she must inform the corporate office that Plaintiff had been incarcerated.


  On or about Aug.6, 2020 Defendant Stroud stopped all preparations for Plaintiffs
  orientation on August 10,2020.


  On or about July 1991 Plaintiff had pleaded guilty to a felony.


  Defendant Cameca have a policy to conduct a 10-years background check.


  At all times relevant, despite Defendant Cameca have a policy to conduct a 10-years
  background check plaintiff alleges that the Defendants have a practice of screening out
  felons during the interview stage.


  Defendant Stroud reported to the corporate office that Plaintiff had been incarcerated
  for a felony that occur over 25 years ago.


  On or about Aug. 7, 2020 Defendant Stroud called Plaintiff to inform him they may
  proceed with the orientation to be held on Monday August 10,2020 per the corporate
  office.


  On or about Aug. 7, 2020 Plaintiff responds to Defendant Stroud in their phone call
  stating that she was wrong for sharing Plaintiff's criminal information to the
  Defendant LeDuigou, plaintiff's manager.


  On or about Aug. 7, 2020 Plaintiff further explain to defendant Stroud during that call
  stating that she had been discriminatory towards him.



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  On or about Aug. 7, 2020 Defendant Stroud asked the Plaintiff during the same call if
  he would like to speak with Defendant LeDuigou.


  On or about Aug. 7, 2020 Plaintiff agreed to speak with Defendant LeDuigou
  regarding his anger towards Plaintiff


  On or about Aug. 7, 2020 Defendant Stroud called a second time stating that
  Defendant LeDuigou is free today and wanted to know what time was good for
  Plaintiff. Plaintiff told Defendant Stroud 11:00 AM.


  Defendant Stroud also stated that Defendant LeDuigou wanted her to be on the call.


  On or about   August 7, 2020 Plaintiff receive an invite chat from Defendant Stroud.


  On or about August 7, 2020 Plaintiff receive a cancellation chat from Defendant
  Stroud.


  On or about August 7, 2020 Plaintiff receive an email from Defendant Stroud stating
  "Unfortunately I needed to cancel the meeting because that time won't work. I'll be in
  touch later today".

  Defendant Stroud did not get in touch with Plaintiff later that day or any other day
  thereafter per her August 7, 2020 email.


  On or about August 7,2020 (2:20 PM) Plaintiff receive a phone call from Defendant
  Turnbull asserting that he has been in contact with defendant Stroud and their legal
  team regard plaintiff.


  On or about August 7, 2020 (2:20 PM) Defendant Tumbull during the call with
  plaintiff apologize.



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  On or about August 7, 2020 (2:20 PM) Defendant Turnbull during the call with
  plaintiff apologize for how things have been handled during plaintiff's transition to
  Defendant Cameca.


  On or about August 7, 2020 (2:20 PM) Defendant Turnbull during the call with
  Plaintiff then goes on to state that he wanted to get the record straight regarding his
  narrative of how Plaintiff's criminal history was discovered.


  On or about August 7, 2020 (2:20 PM) Defendant Turnbull during the call with
  Plaintiff asserted that it was not Defendant Stroud that did the internet search but
  Defendant LeDuigou.


  On or about August 7, 2020 (2:20 PM) Defendant Turnbull during the call with
  Plaintiff continues to assert that Defendant Stroud looked at the report from the
  HireRight and determined Plaintiff's age didn't coincided with my work history and
  graduation date.


  Per Defendant Turnbull, Defendant Stroud determined that plaintiff resume had an
  employment gap and proceeded to contacted Defendant LeDuigou with questions
  about Plaintiff's interview.


  Defendant Turnbull asserted Defendant LeDuigou did the interrtet search on plaintiff
  and discovers that Plaintiff had been incarcerated.


  Defendant Turnbull assert that Defendant LeDuigou became upset when he discovered
  plaintiff had been incarcerated.


  Defendant Turnbull assert that Defendant LeDuigou informed Defendant Stroud of
  Plaintiff's criminal history.




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  At all times relevant, Plaintiff allege Defendants have a practice also of screening out
  all applicant for any position with extensive work history, an indicator that an
  applicant is undoubtedly over 40 years of age.


  Defendants used information from HireRight report and took adverse action against
  Plaintiff


  Plaintiff did not receive from the Defendants a copy of the HireRight report.


  Plaintiff was not notified of the specific information from the HireRight report that
  was allegedly of concern.


  Plaintiff was not afforded the opportunity to explain the information of concern from
  the HireRight report before Defendants took adverse actions against Plaintiff.


  Plaintiff did not receive written notice of the adverse action against him.


  On or about August 7, 2020 (2:20 PM) Defendant Turnbull during the call with
  Plaintiff continues throughout the conversation to make it known that he wanted to get
  the record straight about the chain of events and that Plaintiffs background is public
  information.


  On or about August 7, 2020 (2:20 PM) Plaintiff during the call with Defendant
  Turnbull stated that he, Defendant Stroud, and Defendant LeDuigou have acted
  discriminatory towards Plaintiff based on race and age.


  Plaintiff as an applicant verbally reported a complaint with Defendant Turnbull
  alleging discrimination based in race and age against defendant Stroud and Defendant
  LeDuigou.




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  On or about August 7, 2020 (2:20 PM) Plaintiff during the call with Defendant
  Turnbull informed him that he would be filing an EEOC complaint for violation of his
  rights based on race and age.


  On or about August 7, 2020 (3:38 PM) Plaintiff receive an email from Defendant
  Turnbull stating "Thank you for the call today. As discussed, we look forward to you
  starting your employment with Cameca on Monday, August 10, 2020. I provided you
  with my email and phone number on the call, but it is below for your convenience. We
  are excited about you joining the Cameca team."


  On or about August 8,2020 (10:36 AM) Plaintiff's respond to Defendant Turnbull by
  stating "Good morning and thank you for your email yesterday. I would love to be part
  of the Cameca team. However, after consulting with an attorney (Kathryn Barcroft,
  Partner & Chair of the Private Sector Employment Division, Solomon Law Firm
  PLLC) I was advised to ask how can you ensure that I will not be targeted by Fabrice,
  since he allegedly did the internal search and became upset with his findings, or any
  other employees. Is Fabrice the only manager that I can work with? Is this the only
  department I can work in? Moreover, how can you ensure this job offer is in good
  faith."


  On or about August 9, 2020 (12:48 PM) Defendant Turnbull responds stating, "We too
  are looking forward to having you joining the Cameca team. AMETEK maintains a
  working environment that values diversity and protects the right of each employee to
  fair and equitable treatment. Further we strive to provide equal employment and
  advancement opportunities for all qualified people (Reference to our Code of Ethics
  and Business Conduct Handbook). Any confirmed actions that contradict this policy
  would be subject to corrective actions. Regarding your references to Fabrice. He has
  been reminded of the above-mentioned policies and confirmed continued compliance
  with referenced policies. Our good faith and commitment to the Code of Ethics is
  evidenced by our decision to move forward to hire you after being informed of your
  past criminal convictions."

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  On or about August 10, 2020 (6:55 AM) Defendant Tumbull forward the following
  email to Plaintiff stating; "Just following up this morning to ensure you got my
  response and to understand whether you intend to report in today."


  As of August 10,2020 (7:45 AM) Plaintiff had not receive company phone to fully
  participation in the orientation to be held at 10:00 AM August 10,2020.


  As of August 10, 2020 (7:45 AM) Plaintiff had not receive company computer to fully
  participation in the orientation to be held at 10:00 AM August 10, 2020.


  As of August 10, 2020 (7:45 AM) Plaintiff had not receive company email address to
  fully participation in the orientation to be held at 10:00 AM August 10, 2020.


  As of August 10,2020 (7:45 AM) Defendant Stroud was not reprimanded for
  disclosing personnel records to Defendant LeDuigou.


  As of August 10,2020 (7:45 AM) Defendant LeDuigou was not reprimanded for
  disclosing Plaintiff's personal information to Defendant Stroud.


  As of August 10, 2020 (7:45 AM) Defendant LeDuigou was not reprimanded for his
  bias actions toward Plaintiff.


  As of August 10, 2020 (7:45 AM) Defendant Tumbull was not reprimanded for his
  interference in Code of Ethics and Business Conduct during plaintiffs transition to
  Defendant Cameca.


  As of August 10, 2020 (7:45 AM) Defendant Cameca did not take actions to
  discourage Defendant Stroud, Defendant LeDuigou, and Defendant Turnbull from
  continuing violations and discriminatory actions forwards Plaintiff or any other
  applicants.

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       On or about August 10,2020 (7:46 AM) Plaintiff's respond to Defendant Turnbull by
       stating the following: "Good morning. Yes, I did receive your email Saturday, and I
       understand that you cannot ensure me that I will not be a target of retaliation. You
       cannot ensure to me that this job offer is in good faith. The only reason you have
       extended an offer is because that is the advice of your legal team. Mr. Steven a terrible
       wrong has been done and I'm deeply hurt and offended by it. With that being said, I do
       not intend to report."


       On or about August 10,2020 (7:46 AM) Plaintiff rejects Defendant Cameca' "Bad
       Faith" job offer.


       On or about August 10, 2020 (10:35 AM) Defendant Turnbull emailed plaintiff stating
       the following: "We are disappointed that you have decided not to join Cameca. We
       were fully committed to you being successful. We wish you the best."


       At all relevant times, Plaintiff alleges Defendants' job offer was not made in "good
       faith".

       At all relevant times, plaintiff alleges Defendants' made a job offer they could not live
       up too.



First Cause of Action

Defendant Cameca' Violation of Title VII's Prohibition against Employment Discrimination
Racial Discrimination — Disparate Impact




       Plaintiff incorporates by reference the allegations set forth in the preceding paragraphs
       of the complaint as though set forth at length herein.



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  This claim is authorized and instituted pursuant to the provisions of Title VII of the
  Civil Rights Act of 1964, as amended, 42 U.S.C. Section(s) 2000e seq., and 42 U.S.C.
  Section1981A, for relief based upon the unlawful employment practices of the above-
  named Defendants. Specifically, Plaintiff complains of Defendant Cameca violation of
  Title VII's prohibition against discrimination in employment based upon an
  employee's race.


  Plaintiff is an African American male and during his application process with
  Defendant Cameca was a member of a class protected under Title VII against race-
  based discrimination by his employer, Defendant Cameca, or by his Manager.


  at all relevant times, Plaintiff, fully and adequately performed all of the functions,
  duties and responsibilities of an applicant with Defendant Cameca.


  As set forth herein, Defendant Cameca have a policy by which it considers applicants
  with criminal history. Defendant Cameca have a policy to conduct a 10-years
  background check.


         However, it is the common practice of Defendants to determine if applicants
  have a criminal history in the interview to exclude the applicant from the hiring
  process.


         On information and belief, the Defendant Cameca' hiring process negatively
  impacts minority employees in general and African-American employees in particular
  on a company-wide basis in that a lower percentage of minority employers prevail in
  employment and advancing with the company as compared to white employees.


         Defendant Cameca' hiring process negatively impact minority employees in
  general and African-American employees in particular, at a substantially higher rate
  than white employees and therefore has a significant discriminatory impact on
  minority employees.

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          Plaintiff, as a male applicant of Defendant Cameca, was therefore treated in a
  disparate manner and was subjected to Defendant's unfair practices insofar as that he
  was treated in an unequal manner and unlike white applicants. Said unfair practices
  both restricted Plaintiff in "Good Faith" job offer, employment, wages, and other
  benefits because of his race, African American, and further resulted in his denial of
  employment.


          At all relevant times, Defendant Cameca knew that the discriminatory conduct
  complained of herein was without cause as Plaintiff had consistently satisfied and/or
  exceeded all the requirements for employment as Field Service Engineer.


          As a result of Defendant Cameca' employment procedures and practices,
  Plaintiff was unjustly and discriminatorily deprived of equal employment
  opportunities because of his race, African-American.


          As a further result of Defendant Cameca' above stated actions, Plaintiff has
  been, is being and will be deprived of income in the form of wages and prospective
  retirement benefits, and other benefits, promotion opportunities and job assignments
  due to him as an employee, but denied because of his race and in an amount to be
  proven at trial.


          The above-named Defendants' conduct was a direct and proximate cause of the
  injuries, damages and harm suffered by Plaintiff.


          Furthermore, Defendant Cameca intentionally and/or with reckless
  indifference, engaged in the above stated discriminatory practices against Plaintiff,
  contrary to Plaintiff federally protected rights as guaranteed to him under Title VII of
  the Civil Rights Act of 1964, 42 U.S.C. Section(s) 2000e et seq., as amended and 42
  U.S.C. Section 1981.



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              The intentional and discriminatory conduct of Defendant Cameca complained
       of herein was willful, wanton, deliberate, malicious, egregious and outrageous
       warranting the imposition of punitive/exemplary damages which will serve as an
       example and deterrent to Defendant and others who would commit similar illegal acts.


              As Defendant Cameca engaged in discriminatory employment practices with
       malice or with reckless indifference to Plaintiff federally protected rights, Plaintiff is
       entitled to punitive/exemplary damages in addition to compensatory damages and
       other remedies available under Title VII of the Civil Rights Act of 1964, 42 U.S.C.
       Section(s) 2000e et seq., as amended, and 42 U.S.C. Section 1981A.



Second Cause of Action

Defendant Cameca' Violation of The Employment Act of 1967 against Employment Age
Discrimination — Disparate Impact/Treatment.



              Plaintiff incorporates by reference the allegations set forth in the preceding
       paragraphs of the complaint as though set forth at length herein.


              This claim is authorized and instituted pursuant to the provisions of Age
       Discrimination in The Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634,
       for relief based upon the unlawful employment practices of the above-named
       Defendants. Specifically, Plaintiff complains of Defendant Cameca violation of The
       Employment Act of 1967 against discrimination in hiring based upon an applicant's
       age.


              Plaintiff is an African American male (52 Years Old) and during his
       application process with Defendant Cameca was a member of a class protected under
       The Employment Act of 1967 against age-based discrimination by potential employer,
       Defendant Cameca, or by its Manager.

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         at all relevant times, Plaintiff, fully and adequately performed all of the
  functions, duties and responsibilities of an applicant with Defendant Cameca.


         As set forth herein, Defendant Cameca have a policy by which it considers
  applicants employment history. Defendant Cameca have a practice by which it
  excludes applicants with lengthy employment history from the hiring process.


         On information and belief, the Defendant Cameca' hiring process negatively
  treated applicants over 40 on a company-wide basis in that a lower percentage of
  applicants over 40 prevail in employment and advancing with the company as
  compared to younger applicants.


         Plaintiff, as a male applicant of Defendant Cameca, was therefore treated in an
  adverse manner and was subjected to Defendant's unfair practices insofar as that he
  was treated in an unequal manner and unlike younger applicants similarly situated.
  Said unfair practices both restricted Plaintiff from employment, in his wages and other
  benefits because of his age, 52, and further resulted in his denial of employment.


         At all relevant times, Defendant Cameca knew that the discriminatory conduct
  complained of herein was without cause as Plaintiff had consistently satisfied and/or
  exceeded all the requirements for employment as the Field Service Engineer.


         As a result of Defendant Cameca' employment procedures and practices,
  Plaintiff was unjustly and discriminatorily deprived of equal employment
  opportunities because of his age, 52.


         As a further result of Defendant Cameca' above stated actions, Plaintiff has
  been, is being and will be deprived of income in the form of wages and prospective
  retirement benefits, and other benefits, promotion opportunities and job assignments



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      due to him as an employee, but denied because of his age and in an amount to be
      proven at trial.


              The above-named Defendants' conduct was a direct and proximate cause of the
      injuries, damages and harm suffered by Plaintiff.


              Furthermore, Defendant Cameca intentionally and/or with reckless
      indifference, engaged in the above stated discriminatory practices against Plaintiff,
      contrary to Plaintiff federally protected rights as guaranteed to him under The
      Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.


              The intentional and discriminatory conduct of Defendant Cameca complained
      of herein was willful, wanton, deliberate, malicious, egregious and outrageous
      warranting the imposition of punitive/exemplary damages which will serve as an
      example and deterrent to Defendant and others who would commit similar illegal acts.


              As Defendant Cameca engaged in discriminatory employment practices with
      malice or with reckless indifference to Plaintiff federally protected rights, Plaintiff is
      entitled to punitive/exemplary damages in addition to compensatory damages and
      other remedies available under The Employment Act of 1967, as codified, 29 U.S.C.
      §§ 621 to 634.



Third Cause of Action

Defendant Cameca Breach in Contract and /or Promissory Estoppel



              Plaintiff incorporates by reference the allegations set forth in the preceding
       paragraphs of the Complaint as though set forth at length herein.




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         Defendant Cameca promulgated written statements of Code of Ethics and
  Business Conduct which it provided and disseminated to all of its employees,
  including Plaintiff.


         Defendant Cameca represented in writing, that it would treat employees in a
  specific, fair and equitable manner. Specifically, Defendant Cameca promulgated a
  policy that "All incidents of prohibited discriminatory that are reported will be
  investigated. The company will immediately undertake or direct an effective,
  thorough, and objective investigation of the discriminatory allegations".


         Defendant Cameca further represented, promised and/or implied in writing that
  "If the Company determines that prohibited discriminatory has occurred, the Company
  will take effective remedial action commensurate with the circumstances".


         The customary pattern and practice of Defendant Cameca was to follow its
  express and implied employment policies and practices, including the for cause and
  complaint procedure policies.


         Furthermore, Defendant Cameca represented, promised and/or implied that it
  would investigate the allegations of discrimination and misconduct raised by Plaintiff
  in a fair, impartial and nondiscriminatory manner.


         Defendant Cameca promulgated the "Code of Ethics and Business Conduct",
  and made these representations, in such a manner as to manifest its willingness to enter
  into a bargain with its employees, including Plaintiff.


         Plaintiff assented to Defendant Cameca offer regarding the "Code of Ethics
  and Business Conduct" when applying and via oral representations in such a way as to
  conclude the bargain.




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         Defendant Cameca breached its contract with Plaintiff by its failure to follow
  its own "Code of Ethics and Business Conduct" practices, with regard to the terms and
  conditions of applicant Plaintiff as set forth herein.


         As set forth herein, Defendant Cameca intentionally, willfully and/or
  maliciously breached its contract with Plaintiff.


         Moreover, Defendant Cameca expected and/or should have reasonably
  expected Plaintiff to rely on the aforementioned "Code of Ethics and Business
  Conduct" as a commitment by Defendant Cameca to follow and abide by them,
  including the for cause and complaint procedure policies.


         At all relevant times, Plaintiff understood and reasonably relied on the
  aforementioned "Code of Ethics and Business Conduct" to his detriment and harm,
  both pecuniary and otherwise.


         As set forth herein, Defendant Cameca did not follow the aforementioned
  employment "Code of Ethics and Business Conduct". Specifically, Plaintiff was
  denied employment for cause in that Defendant Cameca did not properly investigate
  the allegations of discrimination and misconduct raised by Plaintiff and Defendant
  Cameca did not follow its policies, practices and procedures with regard to the
  discriminatory complaint process.


         Substantial injustice can only be avoided by enforcing the promises made by
  Defendant Cameca to Plaintiff.


         Defendant Cameca breach of contract was a direct and proximate cause of the
  injuries, damages and harm suffered by Plaintiff and as set forth herein.




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               Defendant Cameca conduct was willful and wanton, and Plaintiff is entitled to
       punitive/exemplary damages in addition to compensatory damages and other remedies
       available under the common law.



Forth Cause of Action

Defendant Turnbull, Stroud, and LeDuigou, individually — intentional interference with a
contractual Relationship.



               Plaintiff incorporates by reference the allegations set forth in the preceding
       paragraphs of the Complaint as though set forth at length herein.


               As set forth above and at all relevant times, an express and/or implied
       contractual relationship for continued employment existed between Defendant Cameca
       and Plaintiff.



              At all relevant times, Defendant Turnbull knew of the existence of the
       aforementioned contractual relationship between Defendant Cameca and Plaintiff.


              As set forth herein, Defendant Turnbull fail to investigate plaintiff's complaint
       against defendant Stroud and Defendant LeDuigou, and willfully gave false
       statements. By so doing, Defendant Turnbull intentionally induced Defendant Cameca
       not to perform its contractual obligations in general, and to deny Plaintiff investigation
       into discrimination complaint in particular.


              The above-named Defendant's intentional interference with the aforementioned
       contractual relationship was based upon their own self-serving motives, objectives and
       desires.



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              At all relevant times, Defendant Turnbull knew of the existence of the
       aforementioned contractual relation between Defendant Cameca and Plaintiff.


              As set forth herein, Defendant Cameca knew or had reason to know that the
       assertions of Defendant Turnbull were false and motivated by self-interest.


              In spite of said knowledge, Defendant Cameca was instrumental in failing to
       conduct the investigation of Defendant Stroud and Defendant LeDuigou alleged
       discriminatory actions against Plaintiff.


              In addition, Defendant Cameca was instrumental in improperly selecting
       Defendant Turnbull to investigate Plaintiff's complaint against Defendant Stroud and
       Defendant LeDuigou and tainting the complaint procedure process so that Plaintiff
       would not receive it in a fair, impartial and nondiscriminatory manner.


              The above-named Defendants intentional interference with the aforementioned
       contractual relationship was a direct and proximate cause of the injuries, damages and
      harm suffered by Plaintiff.


              Because the Defendants' conduct towards Plaintiff was improperly motivated,
       and was intentional, willful and wanton, Plaintiff is entitled to punitive/exemplary
       damages in addition to compensatory damages.



Fifth Cause of Action

Defendant Cameca Breach of Confidentiality of Personnel Records.



              Plaintiff incorporates by reference the allegations set forth in the preceding
       paragraphs of the complaint as though set forth at length herein.




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          This claim is authorized and instituted pursuant to the provisions of The
  Privacy Act of 1974, as amended, 5 U.S.C. §§ 552a, and The Fair Credit Reporting
  Act, for relief based upon the unlawful employment practices of the above-named
  Defendants. Specifically, Plaintiff complains of Defendant Cameca violation of "The
  Code of Ethics and Business Conduct" against violation of confidentiality of personnel
  records.


          Plaintiff is an African American male and during his application process with
  Defendant Cameca was a member of a class protected under The Privacy Act of 1974
  and The Fair Credit Reporting Act against violation of confidentiality of personnel
  records by potential employer, Defendant Cameca, or by its Manager.


          Defendant Cameca voluntarily contracted, promised and/or agreed and thereby
  assumed a legal obligation of "Confidentiality of Personnel Records" in its
  performance or enforcement of its "Code of Ethics and Business Conduct" with its job
  offer to Plaintiff.


          At all relevant times, Plaintiff, fully and adequately performed all of the
  functions, duties and responsibilities of an applicant with Defendant Cameca.


          As set forth herein, Defendant Cameca have a practice by which it discloses
  unrelated and irrelevant personnel records of Plaintiff to his potential managers.
  Defendant Cameca have a practice by which it shares applicants records with
  unrelated employees.


          On information and belief, the Defendant Cameca' record management system
  fails to protect the privacy of applicants.


          Plaintiff, as an applicant of Defendant Cameca, was therefore treated in an
  adverse manner and was subjected to Defendant's unfair practices insofar as that he
  was treated in an unequal manner. Said unfair practices both restricted Plaintiff from

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  employment, in his wages and other benefits because of his race, and further resulted
  in his denial of employment.


          At all relevant times, Defendant Cameca knew that the unfair conduct
  complained of herein was without cause as Plaintiff had consistently satisfied and/or
  exceeded all the requirements for employment as the Field Service Engineer.


          As a result of Defendant Cameca' record management system, Plaintiff was
  unjustly and discriminatorily deprived of equal employment opportunities.


          As a further result of Defendant Cameca' above stated actions, Plaintiff has
  been, is being and will be deprived of income in the form of wages and prospective
  retirement benefits, and other benefits, promotion opportunities and job assignments
  due to him as an employee, but denied because of his age and in an amount to be
  proven at trial.


          The above-named Defendants' conduct was a direct and proximate cause of the
  injuries, damages and harm suffered by Plaintiff.


          Furthermore, Defendant Cameca intentionally and/or with reckless
  indifference, engaged in the above stated discriminatory practices against Plaintiff,
  contrary to Plaintiff' federally protected rights as guaranteed to him under The Privacy
  Act of 1974, as amended, 5 U.S.C. §§ 552a, and The Fair Credit Reporting Act.


          The intentional and discriminatory conduct of Defendant Cameca complained
  of herein was willful, wanton, deliberate, malicious, egregious and outrageous
  warranting the imposition of punitive/exemplary damages which will serve as an
  example and deterrent to Defendant and others who would commit similar illegal acts.


          As Defendant Cameca engaged in discriminatory employment practices with
  malice or with reckless indifference to Plaintiff' federally protected rights, Plaintiff is

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       entitled to punitive/exemplary damages in addition to compensatory damages and
       other remedies available under The Privacy Act of 1974, as amended, 5 U.S.C. §§
       552a, and The Fair Credit Reporting Act.




Sixth Cause of Action

Defendant Cameca' Violation of The Fair Credit Reporting Act.



              Plaintiff incorporates by reference the allegations set forth in the preceding
       paragraphs of the complaint as though set forth at length herein.


              This claim is authorized and instituted pursuant to the provisions of The Fair
       Credit Reporting Act, 15 U.S.C. section 1681-1681x, for relief based upon the
       unlawful employment practices of the above-named Defendants. Specifically, Plaintiff
       complains of Defendant Cameca violation of The Fair Credit Reporting Act against
       violating the four-step process.


              Plaintiff was an applicant and during his application process with Defendant
       Cameca was a member of a class protected under The Fair Credit Reporting Act
       against violation of the Pre-Adverse Action Protocol and the Adverse Action Protocol
       by potential employer, Defendant Cameca, or by its Manager.


              At all relevant times, Plaintiff, fully and adequately performed all of the
       functions, duties and responsibilities of an applicant with Defendant Cameca.


              As set forth herein, Defendant Cameca have requested an investigative
       consumer report about Plaintiff from HireRight, LLC ("HireRight"), a consumer
       reporting agency, in connection with Plaintiff application for employment. Defendant
       Cameca have a practice by which it uses information from a consumer report to take
       an adverse action.

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          On information and belief, the Defendant Cameca' hiring process failed to
  provide Plaintiff with a copy of the report which had the alleged discrepancies and/or
  conflict, failed to give Plaintiff an opportunity to respond to the alleged discrepancies
  and/or conflict, and failed to provide the Plaintiff with written notice of the adverse
  action taken against him


          Plaintiff an applicant of Defendant Cameca, was therefore not informed in
  writing the specific conflicting information that caused the adverse action. Said unfair
  practices both restricted Plaintiff from employment, in his wages and other benefits
  because Plaintiff was not able to properly respond to the allegedly conflicting
  information which he believe he could have corrected any discrepancies and/or
  conflict and possibly prevent any adverse action, and further resulted in his denial of
  employment.


          At all relevant times, Defendant Cameca knew that the discriminatory conduct
  complained of herein was without cause as Plaintiff had consistently satisfied and/or
  exceeded all the requirements for employment as the Field Service Engineer.


          As a result of Defendant Cameca' employment procedures and practices,
  Plaintiff was unjustly and discriminatorily deprived of equal employment
  opportunities because of due process was not afforded to Plaintiff.


          As a further result of Defendant Cameca' above stated actions, Plaintiff has
  been, is being and will be deprived of income in the form of wages and prospective
  retirement benefits, and other benefits, promotion opportunities and job assignments
  due to him as an employee, but denied because of his age and in an amount to be
  proven at trial.


          The above-named Defendants' conduct was a direct and proximate cause of the
  injuries, damages and harm suffered by Plaintiff.

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             Furthermore, Defendant Cameca intentionally and/or with reckless
      indifference, engaged in the above stated discriminatory practices against Plaintiff,
      contrary to Plaintiff federally protected rights as guaranteed to him under The Fair
      Credit Reporting Act.


             The intentional and discriminatory conduct of Defendant Cameca complained
      of herein was willful, wanton, deliberate, malicious, egregious and outrageous
      warranting the imposition of punitive/exemplary damages which will serve as an
      example and deterrent to Defendant and others who would commit similar illegal acts.


             As Defendant Cameca engaged in discriminatory employment practices with
      malice or with reckless indifference to Plaintiff federally protected rights, Plaintiff is
      entitled to punitive/exemplary damages in addition to compensatory damages and
      other remedies available under The Fair Credit Reporting Act.



Seventh Cause of Action

Defendant Cameca Breach of Good Faith Job Offer



              Plaintiff incorporates by reference the allegations set forth in the preceding
      paragraphs of the Complaint as though set forth at length herein.


             Defendant Cameca owed and continues to owe a duty of care to their
      employees and applicants such as Plaintiff, to act in the best interest of their
      employees.


             Defendant Cameca had a further duty to ensure honesty in fact, in the conduct
      or transaction concerned and the observance of reasonable business standards of fair
      dealing.

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         Defendant Cameca voluntarily contracted, promised and/or agreed and thereby
  assumed a legal obligation of "Good Faith" in its performance or enforcement of its
  "Code of Ethics and Business Conduct" with its job offer to Plaintiff.


         Defendant Cameca breached its duty of care owed to Plaintiff as stated clearly
  in their policy "The Code of Ethics and Business Conduct" by and through the
  following acts and/or omissions, which include but are not limited to:


         Failing to properly maintain confidentiality of personnel records;


         Failing to properly and adequately train its managerial employees, including
         Defendant Turnbull, to properly respond to complaints of discrimination in
         hiring, and misconduct;


         Failing to properly and adequately train its managerial employees, including
         Defendant Turnbull, to prohibit discriminatory employment practices,
         including discrimination based on race, and/or age;


         Failing to carefully and diligently supervise its employees, including defendant
         Turnbull, to prevent them from improperly handling complaints of
         discrimination in Hiring, and misconduct and/or conducting the investigation
         in a non-discriminatory manner;


         Failing to implement and/or take appropriate remedial action once it knew or
         should have known that its employees were mishandling complaints of
         discrimination in hiring, and misconduct and/or conducting the investigation in
         a discriminatory manner; and


      f. Failing to conduct a reasonable, proper and appropriate investigation;



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              Failing to abide by its own express and implied employment policies and
              procedures;


              Failing to exercise reasonable care under the circumstances.


              The above-named Defendants job offer was predicated on "Bad Faith" a direct
       and proximate cause of the injuries, damages and harm suffered by Plaintiff.


              Because the Defendants conduct toward Plaintiff was for dishonest,
       discriminatory and malicious purpose, Plaintiffs entitled to punitive exemplary
       damages in addition to compensatory damages, and other remedies available under the
       common law.



Eighth Cause of Action

Defendant Cameca, Defendant Turnbull, Defendant Stroud and Defendant LeDuigou
individually and in their Capacity as Manager — Negligence



              Plaintiff incorporates by reference the allegations set forth in the preceding
       paragraphs of the Complaint as though set forth at length herein.


              Defendant Cameca owed and continues to owe a duty of care to their
       employees and applicants such as Plaintiff, to prevent their employees from acting in
       any way to harm co-employees.


              Defendant Cameca had a duty to ensure that personnel records were handled
       and disposed in the proper manner


              Defendant Cameca had a further duty to ensure that complaints of
       discrimination in hiring, and misconduct were properly handled, and the investigation
       conducted in a fair, impartial and/or non-discriminatory manner.

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         Defendant Cameca voluntarily contracted, promised and/or agreed and thereby
  assumed a legal duty to ensure that complaints of discrimination in hiring, and
  misconduct were properly handled, and the investigation conducted in a fair, impartial
  and/or non-discriminatory manner, pursuant to its express employment policies.


         Defendant Cameca breached its duty of care owed to Plaintiff by and through
  the following acts and/or omissions, which include but are not limited to:


         Failing to properly and adequately train its managerial employees, including
         Defendant Turnbull, to properly maintain applicants' and employees'
         personnel records;


         Failing to properly and adequately train its managerial employees, including
         Defendant Turnbull, to properly respond to complaints of discrimination in
         hiring, and misconduct;


         Failing to properly and adequately train its managerial employees, including
         Defendant Turnbull, to prohibit discriminatory employment practices,
         including discrimination based on race, and/or age;


         Failing to carefully and diligently supervise its employees, including defendant
         Turnbull, to prevent them from improperly handling complaints of
         discrimination in Hiring, and misconduct and/or conducting the investigation
         in a non-discriminatory manner;


         Failing to implement and/or take appropriate remedial action once it knew or
         should have known that its employees were mishandling complaints of
         discrimination in hiring, and misconduct and/or conducting the investigation in
         a discriminatory manner; and



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               Failing to conduct a reasonable, proper and appropriate investigation;


               Failing to abide by its own express and implied employment policies and
               procedures;


               Failing to exercise reasonable care under the circumstances.


               The above-named Defendants conduct was a direct and proximate cause of the
       injuries, damages and harm suffered by Plaintiff.


               Because the Defendants' conduct toward Plaintiff was improperly motivated,
       and was intentional, willful and wanton, Plaintiffs entitled to punitive exemplary
       damages in addition to compensatory damages.



Nineth Cause of Action

All Defendants — Intentional infliction of Emotional Distress



              Plaintiff incorporates by reference the allegations set forth in the preceding
       paragraphs of the Complaint as though set forth at length herein.


              As set forth herein, during his application process with Defendant Cameca,
       Plaintiff was subjected to a pattern of discrimination and misconduct in the workplace
       based on his race, and age.


               At all relevant times, the above-named Defendants knew or should have known
       that Defendant Stroud and Defendant LeDuigou acted discriminatory towards
       Plaintiff. Despite said knowledge, Defendants ignored the evidence and attempted to
       silence, discourage, and humiliate Plaintiff from a "Good Faith" job offer.



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         At all relevant times, the above-named Defendants knew or should have known
  that Defendant Turnbull's narrative of events against Plaintiff were false. Despite said
  knowledge, Defendants ignored the evidence and attempted to silence, discourage, and
  humiliate Plaintiff from a "Good Faith" job offer.


         Despite meeting the requirements for the field Service Engineering position
  plaintiff was denied employment.


         The above-named Defendants, by denying Plaintiff employment and failing to
  investigate allegation of discrimination, and making a job offer in "Bad Faith", acted
  intentionally, recklessly and/or with deliberate indifference to a substantial probability
  that severe emotional distress would result to Plaintiff.


         The above-named Defendants' actions towards Plaintiff as set forth above are
  evidence of a pattern of race discrimination which further constitutes extreme and
  outrageous conduct.


         The conduct of the above-named Defendants was outrageous in character and
  extreme in degree, because said conduct was atrocious and egregious, and went
  beyond all possible bounds of decency and is utterly intolerable in a civilized
  community.


         The extreme and outrageous conduct of the above-named Defendants toward
  Plaintiff was done in a willful and wanton manner and constituted a disregard for the
  rights and well-being of Plaintiff.


         As a direct and proximate result of the above-named Defendants' extreme and
  outrageous conduct, Plaintiff suffered severe emotional distress, depression,
  humiliation, embarrassment, anger, and change in physical appearance and demeanor.




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             Because the Defendants' extreme and outrageous conduct toward Plaintiff was
      improperly motivated, and was intentional, willful and wanton, Plaintiff is entitled to
      punitive/exemplary damages in addition to compensatory damages.



Additional Parties and/or Claims



             Plaintiff respectfully requests leave to amend his Complaint to add additional
      parties and/or claims upon completing initial discovery. It may be necessary to name
      agents or employees of the above-named Defendants, and to add additional claims
      such as intentional discrimination based on race pursuant to Title VII of the Civil
      Rights Act of 1964, as amended, 42 U.S.C. Section 2000e et seq., and 42 U.S.C.
      Section 1981; intentional discrimination based on age pursuant to the Age
      Discrimination in Employment Act, 29 U.S.C. Section 620 et seq, conspiracy,
      malicious prosecution and negligent hiring if additional investigation and discovery
      elicits information that supports such claims.



Damages



             The conduct of the above - named Defendants, as set forth herein, in violating
      Plaintiff' rights under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
      Section (s) 2000e et seq.; the Civil Rights Act of 1866, as amended by the Civil Rights
      Restoration Act of 1991, 42 U.S.C. Section 1981; Age Discrimination in Employment
      Act of 1967, as codified, 29 U.S.C. §§ 621 to 634; and The Fair Credit Reporting Act
      of 19xx, 15 U.S.C. Section 1681-1681x, caused injuries, damages and harm to
      Plaintiff, including, but not limited to, past and future economic loss, past and future
      non-economic losses, including emotional distress, loss of reputation, shame,
      humiliation, pain and suffering, inconvenience, mental anguish, impairment in the
      quality of life; and consequential losses.


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       Wherefore, Plaintiff request judgment and damages against Defendants, Cameca,
Steven Turnbull, Annie Stroud, Fabrice LeDuigou, jointly, severally and/or individually, as
follows:

              A declaration judgment that Defendants have violated Plaintiff' right to be free
               from discrimination in the workplace pursuant to the Title VII of the Civil
              Rights Act of 1964, as amended, 42 U.S.C. Section 2000e, et seq.; the Civil
               Rights Act of 1866, as amended by the Civil Rights Restoration Act of 1991,
              42 U.S.C. Section 1981; 42 U.S.C. Section 1981A; Age Discrimination in
              Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634; and The Fair
              Credit Reporting Act of 19xx, 15 U.S.C. Section 1681-1681x.


              Enter an injunction ordering Defendant Cameca to make Plaintiff whole with
              full back pay, or in the alternative, front pay;


              An award to Plaint for compensatory damages in the amount to be shown at
              trial for past and future economic and non-economic losses, including
              emotional distress and mental anguish, impairment of the quality of life; and
              consequential loses;


              An award to Plaintiff for exemplary and/or punitive damages in the amount to
              be shown at trial;


              An award to Plaintiff of interest on any awards at the highest rate allowed by
               law; and


              Such other and further relief as this Court deems just and appropriate.



PLAINTIFF REQUEST TRIAL TO A JURY ON ALL CLAIMS ALLOWED BY LAW


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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
of litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or,
if specifically so identified, will likely have evidentiary support after a reasonable opportunity
for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.




Respectfully submitted this 25th day September 2020




Najiy-Ullah `Aziyz, Pro Se

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